
12 Cal.App.2d 185 (1936)
A. G. BROWN, Appellant,
v.
ROLLIN F. WALDO, Respondent.
Civ. No. 9783. 
California Court of Appeals. Second Appellate District, Division One.  
February 28, 1936.
 Louis Ferrari, Edmund Nelson, Howard Waterman, Freston &amp; Files and Ralph E. Lewis for Appellant.
 Donald M. Keith for Respondent.
 Edmonds, J. pro tem.
 [1] This action was brought to recover the deficiency remaining unpaid upon a note originally secured by a deed of trust after sale of the property. The defendant interposed a general demurrer upon the ground that the complaint failed to state a cause of action because of the provisions of section 2924 1/2, Civil Code, enacted in 1933. The demurrer was sustained without leave to amend, and the appeal is from the judgment subsequently entered.
 The note and deed of trust were executed October 24, 1929. The note became due three years thereafter.
 In the case of Brown v. Ferdon, 5 Cal.2d 226 [54 PaCal.2d 712], it was held that the code section mentioned cannot apply retroactively to instruments executed before its effective date. The judgment is, therefore, reversed.
 Houser, P. J., and York, J., concurred.
